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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    MICHAEL NEVEU,                     )         No. CV-F-04-6490 OWW/WMW
                                        )
10                                      )         ORDER GRANTING DEFENDANTS
                                        )         DYER AND GARNER’S MOTIONS
11                    Plaintiff,        )         FOR SUMMARY JUDGMENT [DOCS.
                                        )         66 & 100] AND GRANTING IN
12              vs.                     )         PART AND DENYING PART
                                        )         DEFENDANTS' GUTHRIE, ENMARK
13                                      )         WEST, AND CITY OF FRESNO
     CITY OF FRESNO, et al.,            )         RESPECTIVE MOTIONS FOR
14                                      )         SUMMARY JUDGMENT [DOCS. 97,
                                        )         103, 106 & 110]
15                    Defendant.        )
                                        )
16                                      )

17

18
           Before the Court are the respective motions for summary
19
     judgment filed by Defendants City of Fresno; Jerry Dyer; Michael
20
     Guthrie; Greg Garner; Marty West; and Roger Enmark.             Oral
21
     argument on these motions was held on July 31, 2007.
22
           At the hearing on July 31, 2007, summary judgment was
23
     granted in favor of Defendants Jerry Dyer and Greg Garner on the
24
     grounds that Plaintiff had no admissible evidence that either of
25
     these Defendants participated in the actions of which Plaintiff
26

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1    complains and that specific facts admitted by Plaintiff compelled

2    summary judgment.    The Court intends its oral rulings as

3    articulated at the July 31, 2007 hearing to be its statement of

4    decision in granting summary judgment for Defendants Dyer and

5    Garner.

6          I.   Governing Standards.

7          Summary judgment is proper when it is shown that there

8    exists “no genuine issue as to any material fact and that the

9    moving party is entitled to judgment as a matter of law.”

10   Fed.R.Civ.P. 56.    A fact is “material” if it is relevant to an

11   element of a claim or a defense, the existence of which may

12   affect the outcome of the suit.         T.W. Elec. Serv., Inc. v.

13   Pacific Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th

14   Cir.1987).    Materiality is determined by the substantive law

15   governing a claim or a defense.         Id.   The evidence and all

16   inferences drawn from it must be construed in the light most

17   favorable to the nonmoving party.         Id.

18         Even though neither Plaintiff has filed an opposition to

19   Defendants’ motion as required by Rule 56-260, Local Rules of

20   Practice, summary judgment may not be granted on that ground

21   alone.     See Henry v. Gill Industries, Inc., 983 F.2d 943, 950

22   (9th Cir.1993).    The initial burden in a motion for summary

23   judgment is on the moving party.        The moving party satisfies this

24   initial burden by identifying the parts of the materials on file

25   it believes demonstrate an “absence of evidence to support the

26   non-moving party’s case.”     Celotex Corp. v. Catrett, 477 U.S.

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1    317, 325 (1986).      The burden then shifts to the nonmoving party

2    to defeat summary judgment.      T.W. Elec., 809 F.2d at 630.          The

3    nonmoving party “may not rely on the mere allegations in the

4    pleadings in order to preclude summary judgment,” but must set

5    forth by affidavit or other appropriate evidence “specific facts

6    showing there is a genuine issue for trial.”          Id.     The nonmoving

7    party may not simply state that it will discredit the moving

8    party’s evidence at trial; it must produce at least some

9    “significant probative evidence tending to support the

10   complaint.”    Id.    A plaintiff’s verified complaint may be

11   considered as an affidavit in opposition to summary judgment if

12   it is based on personal knowledge and sets forth specific facts

13   admissible in evidence.      Lopez v. Smith, 203 F.3d 1122, 1132 n.14

14   (9th Cir.2000).      As explained in Carmen v. San Francisco Unified

15   School District, 237 F.3d 1026, 1031 (9th Cir. 2001):

16              [T]he district court may determine whether
                there is a genuine issue of material fact, on
17              summary judgment, based on the papers
                submitted on the motion and such other papers
18              as may be on file and specifically referred
                to and facts therein set forth in the motion
19              papers. Though the court has discretion in
                appropriate circumstances to consider other
20              materials, it need not do so. The district
                court need not examine the entire file for
21              evidence establishing a genuine issue of
                material fact, where the evidence is not set
22              forth in the opposing papers with adequate
                references to that it could conveniently be
23              found.

24   The question to be resolved is not whether the “evidence

25   unmistakably favors one side or the other, but whether a fair-

26   minded jury could return a verdict for the plaintiff on the

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1    evidence presented.”     United States ex rel. Anderson v. N.

2    Telecom, Inc., 52 F.3d 810, 815 (9th Cir.1995).         This requires

3    more than the “mere existence of a scintilla of evidence in

4    support of the plaintiff’s position”; there must be “evidence on

5    which the jury could reasonably find for the plaintiff.”             Id.

6    The more implausible the claim or defense asserted by the

7    nonmoving party, the more persuasive its evidence must be to

8    avoid summary judgment.”     Id.

9          II.   Count One - Violation of First Amendment to United

10   States Constitution.

11         Plaintiff alleges that the actions taken against him by

12   Defendants Michael Guthrie, Marty West, and Roger Enmark were in

13   retaliation for Plaintiff’s exercise of First Amendment right of

14   freedom of expression for having reported sexual misconduct,

15   racial harassment, and cheating on police department promotional

16   exams.

17               A.   Elements of Claim.

18         In order to prevail on this First Amendment claim, Plaintiff

19   must establish (1) that he engaged in protected speech; (2) that

20   Defendants took adverse employment actions; and (3) that his

21   speech was a substantial or motivating factor for the adverse

22   employment actions.     Coszalter v. City of Salem, 320 F.3d 968,

23   973 (9th Cir.2003).

24         “The inquiry into the protected status of speech is one of

25   law, not fact.”     Connick v. Myers, 461 U.S. 138, 148 n.7 (1983);

26   see also Rendish v. City of Tacoma, 123 F.3d 1216, 1223 (9th

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1    Cir.1997), cert. denied, 524 U.S. 952 (1998).

2

3                      1.   Constitutionally Protected Speech.

4          Critical to determination whether Plaintiff engaged in

5    protected speech is Garcetti v. Ceballos, ___ U.S. ___, 126 S.Ct.

6    1951 (2006).

7          In Ceballos, Ceballos, a deputy district attorney for the

8    Los Angeles District Attorney’s Office, filed a Section 1983

9    action against the County and his supervisors at the District

10   Attorney’s Office alleging that he was subjected to adverse

11   employment actions in retaliation for engaging in protected

12   speech, i.e., for writing a disposition memorandum in which he

13   recommended dismissal of a case on the basis of purported

14   government misconduct in preparing a critical search warrant

15   affidavit.    After reviewing prior cases, the Supreme Court

16   stated:

17                The Court’s decisions ... have sought both to
                  promote the individual and societal interests
18                that are served when employees speak as
                  citizens on matters of public concern and to
19                respect the needs of government employers
                  attempting to perform their important social
20                functions ... Underlying our cases has been
                  the premise that while the First Amendment
21                invests public employees with certain rights,
                  it does not employer them to
22                ‘constitutionalize the employee grievance.’
                  ....
23
     126 S.Ct. at 1959.     Considering these principles, the Supreme
24
     Court held that the facts that Ceballos expressed his views
25
     inside his office, rather than publicly, and that the memo
26

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1    concerned the subject matter of his employment, are not

2    dispositive.    Id.   The Supreme Court ruled:

3               The controlling factor in Ceballos’ case is
                that his expressions were made pursuant to
4               his duties as a calendar deputy ... That
                consideration - the fact that Ceballos spoke
5               as a prosecutor fulfilling a responsibility
                to advise his supervisor about how best to
6               proceed with a pending case - distinguishes
                Ceballos’ case from those in which the First
7               Amendment provides protection against
                discipline. We hold that when public
8               employees make statements pursuant to their
                official duties, the employees are not
9               speaking as citizens for First Amendment
                purposes, and the Constitution does not
10              insulate their communications from employer
                discipline.
11
                Ceballos wrote his disposition memo because
12              that is part of what he, as a calendar
                deputy, was employed to do. It is immaterial
13              whether he experienced some personal
                gratification from writing the memo; his
14              First Amendment rights do not depend on his
                job satisfaction. The significant point is
15              that the memo was written pursuant to
                Ceballos’ official duties. Restricting
16              speech that owes its existence to a public
                employee’s professional responsibilities does
17              not infringe any liberties the employee might
                have enjoyed as a private citizen. It simply
18              reflects the exercise of employer control
                over what the employer has commissioned or
19              created ....

20              Ceballos did not act as a citizen when he
                went about conducting his daily professional
21              activities, such as supervising attorneys,
                investigating charges, and preparing filings.
22              In the same way he did not speak as a citizen
                by writing a memo that addressed the proper
23              disposition of a pending criminal case. When
                he went to work and performed the tasks he
24              was paid to perform, Ceballos acted as a
                government employee. The fact that his
25              duties sometimes required him to speak or
                write does not mean his supervisors were
26              prohibited from evaluating his performance.

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1    Id. at 1960.     The Supreme Court concluded:

2               Proper application of our precedents thus
                leads to the conclusion that the First
3               Amendment does not prohibit managerial
                discipline based on an employee’s expressions
4               made pursuant to official responsibilities.
                Because Ceballos’ memo falls into this
5               category, his allegation of unconstitutional
                retaliation must fail.
6
                ... [T]he parties in this case do not dispute
7               that Ceballos wrote his disposition memo
                pursuant to his employment duties. We thus
8               have no occasion to articulate a
                comprehensive framework for defining the
9               scope of an employee’s duties in cases where
                there is room for serious debate. We reject,
10              however, the suggestion that employers can
                restrict employees’ rights by creating
11              excessively broad job descriptions ... The
                proper inquiry is a practical one. Formal
12              job descriptions often bear little
                resemblance to the duties an employee
13              actually is expected to perform, and the
                listing of a given task in an employee’s
14              written job description is neither necessary
                nor sufficient to demonstrate that concluding
15              the task is within the scope of the
                employee’s professional duties for First
16              Amendment purposes.

17              ...

18              We reject ... the notion that the First
                Amendment shields from discipline the
19              expressions employees make pursuant to their
                professional duties. Our precedents do not
20              support the existence of a constitutional
                cause of action behind every statement a
21              public employee makes in the course of doing
                his or her job.
22
     Id. at 1961-1962.
23
           In Freitag v. Ayers, 468 F.3d 528 (9th Cir.2006), cert.
24
     denied, 127 S.Ct. 1918 (2007), the Ninth Circuit addressed
25
     whether a female corrections officer engaged in constitutionally
26

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1    protected speech in light of Ceballos.       468 F.3d at 542-546.

2    Following her termination, Freitag alleged inter alia that she

3    was terminated in retaliation for her exercise of First Amendment

4    rights.   The jury was instructed that examples of speech

5    protected by the First Amendment included:

6               (a) Reporting sexually hostile inmate conduct
                to agents of the California Department of
7               Corrections, either formally or informally;

8               (b) Documenting Pelican Bay State Prison’s
                responses or failures to respond to
9               Plaintiff’s reports of sexually hostile
                inmate conduct;
10
                (c) Informing Cal Terhune, Director of the
11              California Department of Corrections, of
                either the inmates’ sexually hostile conduct
12              or of Pelican Bay State Prison’s responses or
                failures to respond;
13
                (d) Informing State Senator Richard Polanco
14              either of sexually hostile conduct or of the
                Pelican Bay State Prison’s responses or
15              failures to respond;

16              (e) Reporting either the sexually hostile
                conduct or Pelican State Prison’s responses
17              or failures to respond to the Office of the
                Inspector General; or
18
                (f) Cooperation with the investigation
19              conducted by the Office of the Inspector
                General.
20
     468 F.3d at 544.    The Ninth Circuit concluded, following
21
     Ceballos, that Freitag’s letters to Senator Polanco and her
22
     written and oral communications with the Inspector General, all
23
     of which related to the sexual abuse she and other female
24
     correctional officers suffered at Pelican Bay State Prison, were
25
     made as a citizen on a matter of public concern.             Id. at 545-546.
26

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1    With regard to Freitag’s internal reports of inmate sexual

2    misconduct and documentation of the prison’s failures to respond,

3    the Ninth Circuit concluded:

4               [I]t is clear that, under Ceballos, such
                activity is not constitutionally protected.
5               For purposes of the First Amendment, Freitag
                submitted those reports as part of her
6               official duties as a correctional officer and
                thus not in her capacity as a citizen.
7
     Id.   Because the record did not establish whether correctional
8
     officers were expected to air complaints concerning the
9
     conditions in their prisons all the way up to the Director of the
10
     CDCR, the Ninth Circuit remanded that issue to the district court
11
     for further consideration.     Id.
12
           Using this guidance, the December 23, 1996 PAL memorandum
13
     relating to alleged racial harassment by Police Activity League
14
     (PAL) volunteers at a PAL event was not written by Plaintiff as a
15
     citizen and that it was written pursuant to Plaintiff’s official
16
     duties.   The evidence presented to the Court establishes as a
17
     matter of law that Plaintiff wrote the memorandum as “the post
18
     advisor and advocate for the Explorer Youth”, that “this memo
19
     shall serve as formal documentation and notification of the
20
     incident and events, as required under law re racial harassment”,
21
     that “the conduct is also expressly forbidden per blue book”, and
22
     that Plaintiff has “earnestly and respectfully carried out my
23
     duties as Post Advisor and always do so in a manner which
24
     reflects credit upon the Department and consistent with
25
     Department guidelines and mission goals”.        Plaintiff’s memo
26

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1     requested that the Department take steps to rectify the

2     situation.   Defendants’ motions for summary judgment are GRANTED

3     with regard to the December 23, 1996 PAL memorandum in Count One.

4          With regard to the 1996 Year End Report regarding the

5     Explorer program authored by Plaintiff on January 10, 1997, the

6     record establishes that Plaintiff was summarizing the

7     accomplishments of the program he was running as a member of the

8     Police Department and as Explorer Post Advisor, assigned to the

9     explorer program and discussed present staffing and future growth

10    of the Explorer program.     Plaintiff prepared the report because

11    the preceding Explorer Post Advisor had prepared such a report.

12    Plaintiff sent the report to his chain of command.            As a matter

13    of law, Plaintiff did not prepare the 1996 Year End Report acting

14    as a citizen, but as part of his duties as a police officer

15    assigned to oversee a Police Department program.            Defendants’

16    motions for summary judgment are GRANTED with regard to the 1996

17    Year End Report in Count One.

18         With regard to the Mata reports, the record establishes that

19    Plaintiff was transferred from patrol duty on July 15, 1996 to

20    the position of Explorer Post Advisor because the previous

21    advisor, Richard Mata, was suspended due to allegations of sexual

22    misconduct with minors.     At the time of Plaintiff’s transfer, the

23    Internal Affairs division of the Police Department had commenced

24    an investigation of the allegations against Mata.           Shortly after

25    he became the Explorer Post Advisor, Internal Affairs’

26    representatives told Plaintiff that additional victims would

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1     likely surface.   Plaintiff was instructed by Internal Affairs to

2     provide a written memorandum to Internal Affairs and his chain of

3     command which set forth the name and information provided by any

4     additional victims, but not to, himself, interview the victim and

5     conduct any investigation.     Internal Affairs also directed

6     Plaintiff to disregard any request by his chain of command not to

7     document the information in writing and to inform his chain of

8     command that the directive to submit a written memorandum to

9     Internal Affairs was made by then Chief of Police Ed Winchester.

10    In July/August 1996, after Plaintiff learned additional

11    information relating to Mata, Plaintiff provided a written

12    memorandum to Internal Affairs as well as his chain of command.

13         Plaintiff was instructed by his chain of command not to

14    document in writing any more information about Mata, and not to

15    report it to anyone except his chain of command.            The compelled

16    non-reporting of suspected criminal conduct resulting in

17    employment discrimination under color of law, cannot be conduct

18    unredressable under the Civil Rights Act by law enforcement

19    employees.   This disputed conduct is forced nondisclosure.             It is

20    not part of the employer’s business and survive summary judgment

21    as it cannot be decided as a matter of law such conduct is not

22    protected under the First Amendment.       The court will consider all

23    evidence on this issue at trial to made the final ruling on the

24    Mata “speech.”    Defendants’ motions for summary judgment are

25    DENIED with regard to the Mata reports in Count One.

26         With regard to Plaintiff’s testimony in 2002 before the

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1     Civil Service Commission, there is evidence that, in January

2     2001, the City provided a promotional opportunity for Police

3     Sergeant; that, in March 2001, a “practical phase” for the

4     promotion exam was implemented which was graded at 50% of an

5     applicant’s final score; and that, after the testing was

6     completed, some applicants complained that the testing conditions

7     were tainted and filed grievances, which culminated in a hearing

8     before the Civil Service Commission.       There is evidence that

9     Plaintiff learned that some candidates were given the answers

10    prior to taking the practical phase, which Plaintiff disclosed to

11    the attorney representing the applicants; and that Plaintiff and

12    his wife were subpoenaed to testify about this misconduct in the

13    Civil Service Commission hearing.

14         This evidence, if established at trial, demonstrates that

15    Plaintiff was not providing information and testifying in the

16    Civil Service Commission proceedings as part of his official

17    duties but, rather as a citizen.        Defendants’ motions for summary

18    judgment are DENIED with regard to the 2002 Civil Service

19    Commission Hearing testimony in Count One.1

20         With regard to Plaintiff’s speech that was made as a citizen

21    and not as part of his official duties, in order to be protected

22    speech under the First Amendment, the speech must express a

23    matter of public concern.

24

25         1
            These rulings do not preclude introduction of evidence of
      supervisors’ conduct allegedly asking Plaintiff to engage in
26    unlawful activities.

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1          Whether Plaintiff’s speech addressed a matter of public

2     concern is a question of law.      Alpha Energy Savers, Inc. v.

3     Hansen, 381 F.3d 917, 924 (9th Cir.2004), cert. denied, 544 U.S.

4     975 (2005).     As explained in Pool v. VanRheen, 297 F.3d 899, 906

5     (9th Cir.2002):

6                Though the United States Supreme Court has
                 not articulated a precise definition of
7                public concern, it has stated that ‘[w]hether
                 an employee’s speech addresses a matter of
8                public concern must be determined by the
                 content, form, and context of a given
9                statement, as revealed by the whole record.’
                 ... Speech that is necessary or appropriate
10               to enable citizens to make informed decisions
                 about the operation of their government is of
11               public concern, while speech by public
                 employees addressing individual personnel
12               disputes and grievances is not.

13         Here, exposure of corruption and/or favoritism within the

14    police department about improper favoritism and cronyism in

15    employment promotions and advancement in the workplace are

16    matters of public concern.

17                      2.   Adverse Employment Actions and Causation.

18         Genuine issues of material fact preclude summary judgment on

19    the elements of adverse employment actions and whether

20    Plaintiff’s speech was a substantial or motivating factor for the

21    adverse employment actions.

22               B.    Qualified Immunity.

23         Government officials who perform discretionary functions are

24    entitled to qualified immunity from liability under Section 1983

25    only “insofar as their conduct does not violate clearly

26    established statutory or constitutional rights of which a

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1     reasonable person would have known.”        Harlow v. Fitzgerald, 457

2     U.S. 800, 818 (1982).       This test necessitates a two-part

3     analysis: (1) whether the law governing the official’s conduct

4     was clearly established, and (2) whether, given this clearly

5     established standard, a reasonable official could believe that

6     his conduct was lawful.       Biggs v. Best & Krieger, 189 F.3d 989,

7     994 (9th Cir.1999).

8          The Supreme Court established in 1972 that a public employee

9     has a First Amendment right to speak on matters of public concern

10    and that retaliation by a public employer because of that

11    exercise of the First Amendment right is unconstitutional.              See

12    Pickering v. Board of Education, 391 U.S. 563 (1968).

13         However, with regard to the second prong, where qualified

14    immunity in favor of Defendants depends on disputed issues of

15    fact in their favor, summary judgment on the ground of qualified

16    immunity is not appropriate.       See Wilkins v. City of Oakland, 350

17    F.3d 949, 956 (9th Cir.2003), cert. denied sub nom. Scarrot v.

18    Wilkins, 543 U.S. 811 (2004).       Here, there are disputed issues of

19    fact as to each individual defendant as to their “retaliation”

20    against Plaintiff to destroy his career as a Fresno police

21    officer.   Defendants’ motions for summary judgment on the issue

22    of qualified immunity are DENIED.

23               C.   Liability of City of Fresno.

24         The City of Fresno also moves for summary judgment on Count

25    One pursuant to Monell v. New York City Dept. of Social Services,

26    436 U.S. 658 (1978) and its progeny.

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1           Monell authorizes direct suits against local government

2     units under 42 U.S.C. § 1983 where “the action that is alleged to

3     be unconstitutional implements or executes a policy statement,

4     ordinance, regulation, or decision officially adopted and

5     promulgated by that body’s officers.”       436 U.S. at 690-691.

6     “Moreover, ... local governments ... may be sued for

7     constitutional deprivations visited pursuant to governmental

8     ‘custom’ even though such a custom has not received formal

9     approval through the body’s official decisionmaking channels.”

10    Id.   Since “Congress did not intend municipalities to be held

11    liable unless action pursuant to official municipal policy of

12    some nature caused a constitutional tort[,] ... a municipality

13    cannot be held labile solely because it employs a tortfesor - or,

14    in other words, a municipality cannot be held liable under § 1983

15    on a respondeat superior theory.”       Id. at 691.     A municipality

16    will be liable under Section 1983 only if “the municipality

17    itself causes the constitutional violation at issue.”            Canton v.

18    Harris, 489 U.S. 378, 385 (1989).       In order to assert a Monell

19    claim, plaintiff must establish: (1) a violation of

20    constitutional rights occurred; (2) the existence of a municipal

21    policy or custom; and (3) a causal nexus between (1) and (2).

22    Canton, id. at 385-386; see also City of Los Angeles v. Heller,

23    475 U.S. 796, 799 (1986)(“If a person has suffered no

24    constitutional injury at the hands of the individual police

25    officer, the fact that the departmental regulations might have

26    authorized the use of constitutionally excessive force is quite

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1     beside the point.”).

2          Plaintiff argues that the City’s motion for summary judgment

3     must be denied because of evidence that Defendant Enmark, a

4     Deputy Chief with the ultimate authority to suspend Plaintiff,

5     made the   decision to suspend Plaintiff pending a fitness

6     examination.

7          Plaintiff relies on City of St. Louis v. Praprotnik, 485

8     U.S. 112 (1988) and Pembauer v. City of Cincinnati, 475 U.S. 469

9     (1986).    These Supreme Court decisions are discussed in Los

10    Angeles Police Protective League v. Gates, 907 F.2d 879, 889 (9th

11    Cir.1990):

12                 To show that the City had a policy which
                   deprived Gibson of his constitutional rights,
13                 he may rely on the actions and decisions of
                   the city employees who had the final
14                 decisionmaking authority on the issue in
                   question. City of St. Louis v. Praprotnik,
15                 485 U.S. 112 ... (1988). Furthermore, a
                   single action by the final decisionmaker may
16                 be sufficient to establish that a
                   municipality has a policy that infringes on a
17                 person’s constitutional rights. Id.; see
                   also Pembauer v. City of Cincinnati, 475 U.S.
18                 469 ... (1986).

19    The question of who is the final policymaker is one of state law

20    and is a question of law for the trial court to decide.            As

21    explained in Jett v. Dallas Independent School Dist., 491 U.S.

22    701, 737 (1989):

23                 Last term in St. Louis v. Praprotnik ... we
                   attempted a clarification of tools a federal
24                 court should employ in determining whether
                   policymaking authority lies for purposes of §
25                 1983. In Praprotnik, the plurality
                   reaffirmed the teachings of our prior cases
26                 to the effect that ‘whether a particular

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1                  official has “final policymaking authority is
                   a question of state law.’ ... As with other
2                  questions of state law relevant to the
                   application of federal law, the
3                  identification of those officials whose
                   decisions represent the official policy of
4                  the local government unit is itself a legal
                   question to be resolved by the trial judge
5                  before the case is submitted to the jury.
                   Reviewing the relevant legal materials,
6                  including state and local positive law, as
                   well as ‘”custom and usage”’ having the force
7                  of law,’ ... the trial judge must identify
                   those officials or governmental bodies with
8                  final policymaking authority for the local
                   governmental actor concerning the action
9                  alleged to have caused the particular
                   constitutional or statutory violation at
10                 issue. Once these officials who have the
                   power to make official policy on a particular
11                 issue have been identified, it is for the
                   jury to determine whether their decisions
12                 have caused the deprivation of rights at
                   issue by policies which affirmatively command
13                 that it occur ..., or by acquiescence in a
                   longstanding practice or custom which
14                 constitutes the ‘standard operating
                   procedure’ of the local governmental entity
15                 ....

16         In support of imposing liability on the City of Fresno

17    Plaintiff refers to the deposition testimony of Defendant Enmark

18    that he had sole discretion with respect to suspending employees

19    pending fitness determinations.     “An official may be found to

20    have been delegated final policymaking authority where ‘the

21    official’s discretionary decision is [not] “constrained by

22    policies not of that official’s making” and ... [not] “subject to

23    review by the municipality’s authorized policymakers.’” Ulrich v.

24    City and County of San Francisco, 308 F.3d 968, 986 (9th

25    Cir.2002), citing Christie v. Iopa, 176 F.3d 1231, 1236-1237 (9th

26    Cir.1999).

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1          Here, given Enmark’s high ranking position as a Deputy Chief

2     and the City’s failure to provide contrary evidence, the matter

3     cannot be decided as a matter of law.       The motion is DENIED as to

4     the City.

5          III.   Count Two - Violation of California Labor Code §

6     1102.5 Against Defendant City of Fresno.

7          It is undisputed that Plaintiff did not file a claim for

8     violation of California Labor Code § 1102.5 as required by

9     California Labor Code §§ 98.6 and 98.7.       Plaintiff’s argument

10    that exhaustion of such claim is not required by the Labor Code

11    is without merit.    Gutierrez v. RWD Technologies, Inc., 279

12    F.Supp.2d 1223 (E.D.Cal.2003).

13         In addition, the record establishes that Plaintiff was

14    placed on paid administrative leave on March 1, 2004 but did not

15    file a claim against the City under the California Government

16    Tort Claims Act until November 2, 2004.       The presentation of a

17    claim pursuant to the Tort Claims Act is a separate, additional

18    prerequisite to commencing an action against a local public

19    entity and is not a substitute for the exhaustion of an

20    administrative remedy.      Richards v. Department of Alcoholic

21    Beverage Control, 139 Cal.App.4th 142, 162 (2005).

22         However, even if the tort claim could substitute for the

23    administrative exhaustion required by the California Labor Code,

24    Plaintiff’s tort claim was untimely.       A claim against a public

25    entity must be presented not later than six months after the

26    accrual of the cause of action.     California Government Code §

                                         18
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1     911.2.    Under California Government Code § 945.4, presentation of

2     a timely claim is a condition precedent to the commencement of

3     suit against a public entity.     See Munoz v. State of California,

4     33 Cal.App.4th 1767, 1777 (1995).       For purposes of calculating

5     this time limit, the date on which an action accrues is the date

6     upon which it would be deemed to have accrued under the

7     applicable statute of limitations.         California Government Code §

8     901.    As a general rule, the date of accrual is the date the

9     plaintiff incurred injury as a result of the defendant’s alleged

10    wrongful act or omission.     See Loehr v. Ventura County Community

11    College Dist., 147 Cal.App.3d 1071, 1078 (1970); see also Romano

12    v. Rockwell Internat., Inc., 14 Cal.4th 479, 503 (1996)(“[C]ause

13    of action for wrongful discharge in violation of public policy

14    accrues at the time of termination of employment”).             Here,

15    Plaintiff’s alleged injury, placement on paid administrative

16    leave in retaliation for his whistleblowing activities, occurred

17    on March 1, 2004.    Plaintiff’s argument at the hearing that this

18    claim did not accrue until he was reinstated ignores the

19    standards governing accrual of a cause of action and does not

20    create a genuine issue of material fact on the issue of

21    timeliness of his government tort claim.

22           No excuse is offered for Plaintiff’s failure to timely meet

23    the jurisdictional requirement of the Tort Claim Act.              No facts

24    to justify equitable tolling are offered.

25           Summary Judgment for the City of Fresno on Count Two is

26

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1     GRANTED.2

2          IV.    Count Three - Violations of California Government Code

3     § 53298.

4          Because summary judgment has been granted with respect to

5     Defendants Jerry Dyer, the only Defendants against whom this

6     cause of action is alleged are Roger Enmark and Michael Guthrie.

7          Plaintiff did not timely file a claim pursuant to the

8     California Government Tort Claims Act.       See discussion supra.

9          Plaintiff also did not comply with the requirements of

10    California Government Code § 53297.

11         California Government Code § 53297 provides in pertinent

12    part:

13                (a) An employee ... shall have the right to
                  file a complaint with the local agency within
14                60 days of the date of the act or event which
                  is the subject of the complaint.
15
                  (b) Prior to filing a written complaint
16                pursuant to this article, the employee shall
                  first make a good faith effort to exhaust all
17                available administrative remedies. The 60-
                  day time limit specified in subdivision (a)
18                shall be extended by the amount of time
                  actually utilized by the employee in pursuing
19                available administrative remedies.

20                (c) A complaint pursuant to this article
                  shall be filed in accordance with the locally
21                adopted administrative procedure. If there
                  is no administrative procedure, the complaint
22                shall be filed with the governing body.

23                (d) All complaints brought by employees under
                  this article shall be filed under penalty of
24

25         2
            Because of this ruling, it is unnecessary to address the
      other grounds for summary judgment asserted with respect to Count
26    Two.

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1                perjury.

2     California Government Code § 53298 provides in pertinent part:

3                (a) No local agency officer, manager, or
                 supervisor shall take a reprisal action
4                against any employee ... who files a
                 complaint pursuant to Section 53297.
5
      California Government Code § 53298.5 provides that an officer,
6
      manager, or supervisor who violates Section 53298 with malicious
7
      intent is punishable by fine and imprisonment and by discipline
8
      as provided by local personnel rules and regulations, and
9
      individual liability for monetary damages, including punitive
10
      damages.
11
           California Government Code § 53296 sets forth applicable
12
      definitions and provides in pertinent part:
13
                 (c) ‘Disclosure of information’ means the
14               written provision of evidence regarding gross
                 mismanagement or a significant waste of
15               funds, an abuse of authority, or a
                 substantial and specific danger to public
16               health or safety.

17               (d) ‘Complaint’ means any written document
                 containing a disclosure of information as
18               specified in subdivision (c).

19         It is undisputed that Plaintiff’s complaints were not filed

20    under penalty of perjury.     Plaintiff’s argument that the

21    Government Code does not require that a complaint be filed under

22    penalty of perjury, but only that a complaint “itself is received

23    under penalty of perjury”, completely ignores the express

24    language of the statute.     Plaintiff cites no legislative history

25    or case law supporting his construction of the statute.            Such

26    construction is not sustainable under the plain meaning rule of

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1     statutory construction.     See People v. Canty, 32 Cal.4th 1266,

2     1276-1277 (2004):

3                Our first task is to examine the language of
                 the statute ... giving the words their usual,
4                ordinary meaning ... If the language is clear
                 and unambiguous, we follow the plain meaning
5                of the measure ... ‘[T]he plain meaning rule
                 does not prohibit a court from determining
6                whether the literal meaning of a measure
                 comports with its purpose or whether such a
7                construction of one provision is consistent
                 with other provisions of the statute ....
8
                 The language is construed in the context of
9                the statute as a whole and the overall
                 statutory scheme, and we give ‘significance
10               to every word, phrase, sentence, and part of
                 an act in furtherance of the legislative
11               purpose ....’ ... The intent of the law
                 prevails over the letter of the law, and ‘the
12               letter will, if possible, be so read as to
                 conform to the spirit of the act ....’ ....
13
                 ‘If the Legislature has provided an express
14               definition of a term, that definition
                 ordinarily is binding on the courts.’ ....
15
           California Code of Civil Procedure § 2015.5 provides in
16
      pertinent part:
17
                 Whenever under any law of this state or under
18               any rule, regulation, order or requirement
                 made pursuant to the law of this state, any
19               matter is required or permitted to be
                 supported, evidenced, established, or proved
20               by sworn statement, declaration,
                 verification, certificate, oath or affidavit,
21               in writing of the person making the same
                 (other than a deposition, or an oath of
22               office, or an oath required to be taken
                 before a specified official other than a
23               notary public), such matter may with like
                 force and effect be supported, evidenced,
24               established or proved by the unsworn
                 statement, declaration, verification, or
25               certificate, in writing of such person which
                 recites that it is certified or declared by
26               him or her to be true under penalty of

                                         22
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1                perjury, is subscribed by him or her, and
                 (1), if it is executed within this state,
2                states the date and place of execution ...
                 The certification or declaration may be in
3                substantially the following form:

4                (a) If executed within this state:

5                ‘I certify (or declare) under penalty of
                 perjury that the following is true and
6                correct’:

7                ________________                _______________
                 (Date and Place)                (Signature)
8

9          Thus, the plain meaning of § 53297(d), when coupled with

10    Section 2015.5, clearly expresses the legislative intent that

11    whistleblower retaliation complaints be filed by the employee

12    under penalty of perjury.     There is nothing in that the statute

13    from which it may be inferred that this requirement is satisfied

14    if the employee’s complaint is “received under penalty of

15    perjury”, a concept in any event that does not make sense.

16    Further, the purpose for the requirement of filing the complaint

17    under penalty of perjury is obvious from the severe penalties

18    that may be imposed on the offending officer, manager or

19    supervisor.   The obvious intent of the statute is to assure the

20    truth of the assertions in a § 53297(d) complaint.

21         In addition, Plaintiff’s second alleged complaint in 2003

22    under this statutory scheme is admitted by Plaintiff to have been

23    oral.   Section 53296(d) defines a complaint as “any written

24    document containing a disclosure of information as specified in

25    subdivision (c).”    Plaintiff’s argument that this requirement was

26    satisfied because his oral complaint was reduced to writing after

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1     it was investigated and the Plaintiff and two other witnesses

2     were interviewed, i.e., that the 2003 oral complaint was reduced

3     to writing through the course of the investigation, is without

4     merit.

5           Plaintiff argued that he was advised by employees of the

6     Department that his complaints were received pursuant to Section

7     53298.       This does not satisfy the requirements of law and cannot

8     create grounds for estoppel on which Plaintiff could have relied.

9     The evidence on which Plaintiff relies does not support this

10    inference and does not negate summary judgment for Defendants.3

11                                   CONCLUSION

12          For the reasons stated above and at the hearing on July 31,

13    2007:

14          1.       Defendants Jerry Dyer and Greg Garner’s motions for

15    summary judgment are GRANTED;

16          2.       Defendants Mary West, Michael Guthrie, Roger Enmark and

17    City of Fresno’s motions for summary judgment are GRANTED IN PART

18    AND DENIED IN PART.

19          IT IS SO ORDERED.

20    Dated:       August 13, 2007            /s/ Oliver W. Wanger
      668554                             UNITED STATES DISTRICT JUDGE
21

22

23

24

25
               3
            Because of this ruling, it is unnecessary to address the
26    other grounds asserted for summary judgment on Count Three.

                                            24
